Case 1:20-cv-08786-GHW Document 36 Filed 02/18/21 Page 1 of 2

Timothy J. Fierst, Esq. (TF: 3247)
The Fierst Law Group P.C.
Attorneys for the Plaintiff

462 Sagamore Avenue, Suite 2
East Williston, NY 11596

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

xX
K & S PRODUCE, INC.
Case No. 1:20-cv-08786-GHW
Plaintiff,
ORDER TO SHOW CAUSE
-against- FOR A DEFAULT JUDGMENT
100 BROAD STREET, LLC a/k/a ESSEN F OOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.
Defendants.
xX

 

Upon the Declaration of Timothy J. Fierst, Esq. dated February 16, 2021, the Declaration
of Lee Pakulsky dated February 16, 2021 and the exhibits annexed thereto, the Memorandum in
Support of Plaintiff's Motion for Default Judgment against 100 BROAD STREET LLC a/k/a
ESSEN FOOD, ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN, CHONG WON BYUN, and
WILLIAM BYUN, and upon all the prior proceedings had and papers filed herein in support of
Plaintiff's application for a default judgment against the defendants, jointly and severally, it is
hereby

ORDERED, that the above-named Defendants show cause at a conference before the
Honorable Gregory H. Woods, United States District Judge onthe ss dayof_—s—_—«, 2021
ats am/pm in Room ____ at the Courthouse located at 500 Pearl Street, New York, New
York 10007 or as soon thereafter as counsel may be heard, why an order should not be granted

pursuant to Fed. R. Civ. P. 55(b)(2) and Local Civil Rule 55.2(b) granting Plaintiff a default
Case 1:20-cv-08786-GHW Document 36 Filed 02/18/21 Page 2 of 2

judgment against the defendants 100 BROAD STREET LLC a/k/a ESSEN FOOD, ESSEN22 LLC
a/k/a ESSEN FOOD, JOHN BYUN, CHONG WON BYUN, and WILLIAM BYUN, jointly and
severally, and upon entry of the default judgment, an order pursuant to Fed.R.Civ.P. 62(a) vacating
the thirty (30) day stay from executing the default judgment.

The defendants are advised that failure to respond to this Order to Show Cause may be
grounds for the granting of a default judgment against them, in which event the defendants will
have no trial; and

Plaintiff shall file proof of service of this Order to Show Cause by

Dated: New York, New York
, 2021

 

GREGORY H. WOODS
United States District Judge
